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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 22-20235-CR-BLOOM/OTAZO-REYES

 UNITED STATES OF AMERICA

 vs.

 DANIEL LESIN,

               Defendant.
 ______________________________/


                             GOVERNMENT=S RESPONSE TO
                           THE STANDING DISCOVERY ORDER

         The United States hereby files this response to the Standing Discovery Order. This

  response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16, and is

  numbered to correspond with Local Rule 88.10.

  A.            1.     Copies of any written or recorded statements made by any Defendant are
                       attached. To the extent additional written and/or recorded statements by
                       the Defendant are later discovered and/or obtained by the Government, the
                       Government will disclose them upon receipt by this office.

                2.     That portion of the written record containing the substance of any oral
                       statement made by the Defendant before or after arrest in response to
                       interrogation by any person then known to the Defendant to be a
                       government agent/law enforcement is attached.

                3.     No defendant testified before the Grand Jury.

                4.     The NCIC record of the Defendant, if any exists, will be provided upon
                       receipt by this office.

                5.     Books, papers, documents, photographs, tangible objects, buildings, or
                       places which the Government intends to use as evidence at trial to prove
                       its case in chief, or were obtained from or belonging to the Defendant, or
                       co-defendant(s), are attached to the extent practicable but not filed with the
                       Court. Other additional items, if any exists, may be inspected at a mutually
                       convenient time at the FBI’s Miramar office. Please contact the
                       undersigned attorney to set up a date and time that is convenient to both
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                   parties for inspection.

                   For your convenience, a substantial portion of the salient documents and
                   records have been attached. Please be advised, however, that the
                   attachments do not contain copies of all the books, papers, documents, etc.,
                   that the Government may intend to introduce at trial.

             6.    This office is aware of no physical or mental examinations or scientific
                   tests, or experiments made in connection with this case.

        B.         DEMAND FOR RECIPROCAL DISCOVERY: The United States
                   requests the disclosure and production of materials enumerated as items 1,
                   2 and 3 of Section B of the Standing Discovery Order. This request is also
                   made pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure.

        C.         The Government will disclose any information or material which may be
                   favorable on the issues of guilt or punishment within the scope of Brady v.
                   Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97
                   (1976).

        D.         The Government will disclose under separate cover any payments,
                   promises of immunity, leniency, preferential treatment, or other
                   inducements made to prospective government witnesses, within the scope
                   of Giglio v. United States, 405 U.S. 150 (1972), or Napue v. Illinois, 360
                   U.S. 264 (1959).

        E.         The Government will disclose under separate cover any prior convictions
                   of any alleged co-conspirator, accomplice or informant who will testify for
                   the Government at trial.

        F.         Reports, if any exists, documenting an identification proceeding in which
                   the Defendant is identified to law enforcement by a witness has been
                   provided to the Defendant by the Government. The Defendant may have
                   also been identified by witnesses from his New Jersey Driver’s license
                   photograph attached.

        G.         The Government has advised its agents and officers involved in this case
                   to preserve all rough notes.

        H.         The Government will timely advise the Defendant of its intent, if any, to
                   introduce during its case in chief proof of evidence pursuant to F.R.E.
                   404(b). You are hereby on notice that all evidence made available to you
                   for inspection, as well as all statements disclosed herein or in any

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                   supplemental discovery letter, may be offered in the trial of this cause,
                   under F.R.E. 404(b) or otherwise (including the inextricably-intertwined
                   doctrine). The Government may also seek to disclose such information as
                   relevant conduct for sentencing purposes.

                   As of this filing, the Government is aware of evidence of certain
                   concurrent, intertwined, and similar fraud crimes perpetrated by the
                   defendant that it may seek to introduce at trial, including, but not limited
                   to, other victims of his advance-fee scheme, sales of non-existent vehicles,
                   an insurance fraud scheme involving one or more motor vehicles, a luxury
                   watch fraud scheme, and the theft of services invoicing private airplane
                   charters. The Government will produce those documents, reports, and
                   other evidence of these crimes in a supplemental discovery response.

        I.         The Defendant is not an aggrieved person, as defined in Title 18, United
                   States Code, Section 2510(11), of any electronic surveillance.

        J.         The Government has ordered transcribed the Grand Jury testimony of all
                   witnesses who will testify for the Government at the trial of this cause.

        K.         The Government is aware of no alleged contraband related to the charges
                   contained in the indictment.

        L.         The Government does not know of any automobile, vessel, or aircraft
                   allegedly used in the commission of this offense that is in the Government's
                   possession.

        M.         The Government is not aware of any latent fingerprints or palm prints
                   which have been identified by a government expert as those of the
                   Defendant.

        N.         The Government, to date, has not received a request for disclosure of the
                   subject-matter of expert testimony that the Government reasonably expects
                   to offer at trial.

        O.         The Government will make every possible effort in good faith to stipulate
                   to all facts or points of law the truth and existence of which is not contested
                   and the early resolution of which will expedite trial. These stipulations will
                   be discussed at the discovery conference.

        P.         At the discovery conference scheduled in Section A.5, above, the
                   Government will seek written stipulations to agreed facts in this case, to be
                   signed by the Defendant and defense counsel.



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         The Government is aware of its continuing duty to disclose such newly discovered

  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules

  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.



         In addition to the request made above by the Government pursuant to both Section B of

  the Standing Discovery Order and Rule 16(b) of the Federal Rules of Criminal Procedure, in

  accordance with Rule 12.1 of the Federal Rules of Criminal Procedure, the Government hereby

  demands Notice of Alibi defense; the approximate time, date, and place of the offense was:

                DATE:                   SEE INDICTMENT
                TIME:                   SEE INDICTMENT
                LOCATION:               SEE INDICTMENT

                                                 Respectfully submitted,



                                                 JUAN ANTONIO GONZALEZ
                                                 UNITED STATES ATTORNEY


                                            By: _______________________________
                                                Roger Cruz
                                                Assistant United States Attorney
                                                Florida Bar No. 157971
                                                99 NE 4th Street, 4th Floor
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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 21, 2022, the undersigned electronically filed the
  foregoing document with the Clerk of Court using CM/ECF.

  In addition, (1) portable thumb drive contains documents bates GDL-00000001 through GDL-
  00123790; Vista-CoreNexus-0000001 through Vista-CoreNexus-0006173; and CI-71RLE
  AMEX 000001 through CI-71RLE AMEX 002953 and CI-011F89 AMEX 000001 through CI-
  011F89 AMEX 004238 mentioned above and identified on the detailed index of the discovery,
  sent via FedEx to:

  Steven James Binhak, Esq.
  Law Office of Stephen James Binhak, PLLC
  1 SE 3rd Avenue, Suite 2600
  Miami, Florida 33131
  Counsel of record for the Defendant

  Jeffrey Harris Lichtman, Esq.
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  11 E. 44th Street, Suite 501
  New York, New York 10017
  PRO HAC VICE Counsel of record for the Defendant




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